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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 07-121 (ADC)

 AWILDA L. COLON-PAGAN,
     Defendant.



              ORDER ADOPTING REPORT AND RECOMMENDATION

      Before the Court is an unopposed Report and Recommendation issued by Chief

Magistrate-Judge Justo Arenas on April 22, 2008. (Docket No. 1305). In said Report and

Recommendation the Chief Magistrate-Judge recommends that: defendant Awilda L. Colón-

Pagán be adjudged guilty of the offenses charged in Count I (21 U.S.C. §§ 841(a)(1), 846 and

860) inasmuch as, her plea of guilty was intelligently, knowingly and voluntarily entered.

      Neither party has filed objections to the Chief Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

      After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Chief Magistrate-Judge’s Report and Recommendation in its entirety.
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       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.

       The sentencing hearing is set for July 31, 2008 at 11:00 a.m.

       SO ORDERED.

       At San Juan, Puerto Rico, this 5th day of May, 2008.



                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
